Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 1 of 12 PageID: 1959




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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

   ELAINE LEVINS and WILLIAM
                                                Case No. 1:17-cv-00928-CPO-EAP
   LEVINS, on behalf of themselves and
   others similarly situated,
                               Plaintiffs,
                      vs.                           REPLY DECLARATION OF
   HEALTHCARE REVENUE                                 PHILIP D. STERN, ESQ.
   RECOVERY GROUP, LLC d/b/a ARS                    IN FURTHER SUPPORT OF
   ACCOUNT RESOLUTION                               PLAINTIFFS’ MOTION FOR
   SERVICES, and JOHN AND JANE                       CLASS CERTIFICATION
   DOES 1 THROUGH 25,
                        Defendants.


        I, Philip D. Stern, of full age, declare:

        1.     I am co-counsel representing Plaintiffs Elaine Levins and William

  Levins. I make this Declaration based on my own personal knowledge in further

  support of my clients’ Motion for Class Certification. Specifically, I authenticate

  the documents contained in Plaintiffs’ Exhibits.

                I.   Preliminary Comments Concerning the Exhibits

        2.     I have redacted from the Exhibits the name, birthdate, and telephone


                                                                           page 1 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 2 of 12 PageID: 1960




  contact information for Plaintiffs’ child who was provided services for which

  Defendant attempted to collect the Debt from Plaintiffs. I have also redacted all

  Social Security numbers.

        3.     In addition, where text in the exhibits have been highlighted in blue, I

  have done so to assist locating specific information cited in Plaintiffs’ Counter-

  Statement of Material Facts, their Response to Defendant’s Statement of Material

  Facts, their Brief in opposition to Defendant’s Cross-Motion for Summary

  Judgment, or in this Declaration.

        4.     Lastly, I have add a footer to each Exhibit which states the exhibit

  number and includes pagination.

                           II.   Authenticating the Exhibits.
        5.     There are 33 Exhibits.

        6.     Exhibit 1 is a copy of the transcript of the deposition of David M.

  Friedlander (Friedlander Dep.) who appeared as Defendant’s Rule 30(b)(6)

  witness.

        7.     Exhibit 2 is a copy of Exhibit D-1 from Friedlander Dep.

        8.     Exhibit 3 is a copy of Exhibit D-2 from Friedlander Dep. which are

  the twelve pages Defendant produced in response to Plaintiffs’ Requests for

  Production. Defendant’s production Bates stamped the pages as ARS01-ARS12.

  My redactions appear on ARS04 and ARS 07.


                                                                           page 2 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 3 of 12 PageID: 1961




        9.      Exhibit 4 is a copy of Exhibit D-3 from Friedlander Dep. which is a

  copy of Defendant’s Answers to Plaintiffs’ Interrogatories. There are two pertinent

  issues with Defendant’s Answers.

             9.01.    First, Interrogatory No. 3 requested a description of each

                communication Defendant made or sent to Plaintiffs. Defendant’s

                Response stated that a letter was mailed to Elaine Levins on

                November 2015 and, “[t]hereafter, multiple telephone messages were

                left with the Plaintiffs on various dates, and in every one the call was

                identified as ‘ARS.’” In conflict with that response, Defendant’s

                representative at Defendant’s Rule 30(b)(6) deposition testified to at

                least two letters and four prerecorded voicemail messages in which

                the Defendant never identified itself as and never made any reference

                to “ARS” or “ARS Account Resolution Services.” The relevant

                portions of Mr. Friedland’s testimony can be found in Exh. 1

                (Friedlander Dep. at 125:16-127:12 (letters “A” and “B” did not

                mention “ARS”); at 124:8-24 and 130:11-23 (voicemail messages

                mentioned HRRG, not ARS).

             9.02.    Second, Interrogatory No. 10 requested the factual basis for

                Defendant’s decision to use “ARS Account Resolution Services” to

                describe or identify Healthcare Revenue Recovery Group, LLC.

                                                                            page 3 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 4 of 12 PageID: 1962




              Defendant’s response includes the statement, “ARS Account

              Resolution Services began operations in January 2009, and since then

              ‘ARS’ is the name under which it usually transacts with the public.”

              (Emphasis added.) At Defendant’s Rule 30(b)(6) deposition, the

              witness clarified that “it” does not refer to the entirety of HRRG but

              only to the operations of an internal team which handles specially-

              assigned accounts after HRRG’s other agents failed to collect the

              debt. Exh. 1 (DF Dep. 152:4-20).

        10.   Exhibit 5 is a copy of Exhibit D-4 from DF Dep. which is a transcript

  of the voicemail messages left by Defendant for Plaintiffs.

        11.   Exhibit 6 is a copy of Exhibit D-5 from DF Dep. which is a printout

  of Levins v. Healthcare Revenue Recovery Group, LLC, 902 F.3d 274 (3rd Cir.

  2018).

        12.   Exhibit 7 is a copy of the docketed bankruptcy petition filed by the

  Plaintiffs under Case 16-16093 in the District of New Jersey.

        13.   Exhibit 8 is a printout of the results from a Google search I conducted

  on February 21, 2019 using the search words “ARS collector.”

        14.   Exhibit 9 is a printout of the results from a Google search I conducted

  on February 21, 2019 using the search words “ARS debt.”

        15.   I attach, as Exhibit 10, a true copy of the screen shot of my computer

                                                                         page 4 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 5 of 12 PageID: 1963




  screen on April 6, 2017 when I attempted to accept “www.arspayment.com,” web

  address stated in the voicemail messages. This Exhibit was previously filed at page

  41 in Doc. 12-1.

        16.    As further evidence of the potential inability to access the ARS

  website, during Defendant’s oral argument before the Third Circuit on the appeal

  of this Court’s Rule 12(b)(6) dismissal, Judge Vanaskie announced, “I just, I just

  tried to get on the website and I got a privacy—well, I got a warning that it’s not a

  secure site.” Defense counsel then asked, “Could you get on it, Your Honor?”

  Judge Vanaskie responded, “No. Well, I guess if I ignored the privacy warning, if I

  ignored the security warning but I wasn’t going to ignore the security warning

  ’cause I don’t want to get infected.” The audio recording of the oral argument is

  publicly available through the Third Circuit’s website at:

  https://www2.ca3.uscourts.gov/oralargument/audio/17-

  3330ElaineLevins,etal.v.HealthcareRevenueRecoveryGroup,LLC.mp3 (accessed

  March 2, 2020).

        17.    A copy of that audio file is embedded in Exhibit 28 and the above

  quotes can be heard 33 minutes and 18 seconds into the recording and last for 20

  second.

        18.    I also note that Defendant testified that accessing the ARS website

  does in fatc track and store information about the user. Exh. 1 (DF Dep. 170:12-

                                                                           page 5 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 6 of 12 PageID: 1964




  22).

         19.   As Exhibit 11, I attach the New Jersey Status Report for Healthcare

  Revenue Recovery Group, LLC which I obtained on February 12, 2017.

         20.   As Exhibit 12, I attach Plaintiffs’ Requests for Admission.

         21.   As Exhibit 13, I attach Defendant’s Answers to Requests for

  Admission.

         22.   As Exhibit 14, I attach an excerpt from the transcript of the deposition

  of Plaintiff Elaine Levins.

         23.   As Exhibit 15, I attach an excerpt from the transcript of the deposition

  of Plaintiff William Levins.

         24.   As Exhibit 16, I attach a copy of a 2007 filing with the Florida

  Department of State changing the name of IMBS, Inc. to HCFS Health Care

  Financial Services, Inc.

         25.   As Exhibit 17, I attach a copy of a 2013 filing with the Florida

  Department of State converting HCFS Health Care Financial Services, Inc. to

  HCFS Health Care Financial Services, LLC.

         26.   As Exhibit 18, I attach a copy of a 2015 filing with the Florida

  Department of State of Healthcare Revenue Recovery Group, LLC’s Annual

  Report reflecting that HCFS Health Care Financial Services, LLC is the managing

  member.

                                                                          page 6 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 7 of 12 PageID: 1965




        27.    As Exhibit 19, I attach a copy of a 2016 filing with the Florida

  Department of State of Healthcare Revenue Recovery Group, LLC’s Annual

  Report reflecting that HCFS Health Care Financial Services, LLC is the managing

  member.

        28.    As Exhibit 20, I attach a copy of a 2017 filing with the Florida

  Department of State of Healthcare Revenue Recovery Group, LLC’s Annual

  Report reflecting that HCFS Health Care Financial Services, LLC is the managing

  member.

        29.    As Exhibit 21, I attach a copy of a 2018 filing with the Florida

  Department of State of Healthcare Revenue Recovery Group, LLC’s Annual

  Report reflecting that HCFS Health Care Financial Services, LLC is the managing

  member.

        30.    As Exhibit 22, I attach a copy of a 2019 filing with the Florida

  Department of State of Healthcare Revenue Recovery Group, LLC’s Annual

  Report reflecting that HCFS Health Care Financial Services, LLC is the managing

  member.

        31.    As Exhibit 23, I attach Defendant’s responses to Plaintiffs’ Requests

  for Production. The responses to requests #1, #2, and #28 direct the reader to “

  “See attached.” I have highlighted those words in blue. The documents attached

  are the twelve pages which are attached as Exhibit 3 which had been marked as

                                                                          page 7 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 8 of 12 PageID: 1966




  Exhibit D-2 at the Friedlander Dep.

        32.    CONSIDER REMOVING THIS PARAGRAPH: At Defendant’s

  Rule 30(b)(6) deposition, however, Mr. Friedlander testified that there were

  account notes which were accessible but which were not produced concerning the

  collection of the subject Debt by HRRG before the Debt was assigned to the ARS

  team. He further testified that some, but not all, of the prior account notes were

  imported into the produced account notes. The relevant portions of Mr. Friedland’s

  testimony can be found at Friedlander Dep. (Exh. 1) ____________.

        33.    As Exhibit 24, I attach the search page (paginated as Page 0) and the

  results pages (paginated as Page 1 to Page 28) of a search I personally conducted

  on May 24, 2017 of the online portal to the records of the State of New Jersey for

  business entities registered with New Jersey whose names begin with “ARS.”

  Please note that I previously filed Exhibit 24 as pages 6-34 in Doc. 12-1.

        34.    With respect to Exhibit 24, note that the names of the entities listed on

  Pages 1 to 10 begin with the word “ARS”. With 10 entities per page, there are 100

  entities whose names begin with the word “ARS,” such as “ARS Associates,”

  “ARS Corp,” “ARS Corporation,” and “ARS, Inc.”—each of which are distinct

  entities. The names on pages 11 to 28—173 in total—begin with the letters “ARS”

  as part of the first word (e.g., “ARSI Recovery, Inc.”).

        35.    As Exhibit 25, I attach the search page and the three results pages of a

                                                                           page 8 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 9 of 12 PageID: 1967




  search I personally conducted on May 24, 2017 of the online portal to the records

  of the State of New Jersey for business entities registered with New Jersey whose

  associated name (which includes registered alternate names, fictitious names, and

  previously used names) begin with “ARS.” I previously filed Exhibit 25 as pages

  36-39 in Doc. 12-1.

        36.   Exhibit 25 lists 29 results including the Defendant, Healthcare

  Revenue Recovery Group, LLC. as the first entry on the last page.

        37.   As Exhibit 26, I attach the Bankruptcy Clerk’s Certificate of Notice of

  Abandonment in the Levinses’ bankruptcy showing that both HRRG and an

  unrelated debt collector, ARS National Services, received the notice.

        38.   As Exhibit 27, I attach the Order of Discharge and the Bankruptcy

  Clerk’s Certificate of giving notice of the Order in the Levinses’ bankruptcy

  showing that both HRRG and AR National Services received the notice.

        39.   Exhibit 28 is authenticated above in ¶17.

        40.   Exhibit 29 is the deposition transcript of Patrick Brennan (“PB Dep.”),

  another of Defendant’s Rule 30(b)(6) witnesses. I note that the deposition was

  conducted on two days. Thus, pages 1-50 of the transcript reflect the proceedings

  on September 21, 2021 and pages 51-146 reflect the proceedings on October 14,

  2021. Defendant had asked that the deposition be marked confidential pursuant to

  the Discovery Confidentiality Order [D.E. 34]. Therefore, Exhibit 29 is filed under

                                                                          page 9 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 10 of 12 PageID: 1968




  seal but Plaintiffs leave it to Defendant to move to maintain the sealing.

           41.   Exhibit 30 is a copy of one of Defendant’s collection letters filed in

  another matter, Morales v. Healthcare Revenue Recovery Group, Case No. 2:15-

  cv-8401 (DNJ) at docket entry 1-1. It is provided to show that the address used for

  Defendant to send notices in Plaintiffs’ bankruptcy, PO Box 459080, Sunrise, FL,

  is the same as its address on its collection letters.

           42.   Exhibit 31 is a true copy of the November 9, 2020 cover letter from

  Defendant’s counsel supplementing its discovery responses to add a template of a

  letter Bates stamped ARS 15-16.

           43.   Exhibit 32 is a copy of Plaintiffs’ discovery requests and Exhibit 33 is

  a copy of Defendant’s responses to interrogatories and requests for production.

    III.     HRRG DOES NOT IDENTIFY ITSELF AS “ARS” TO THE DEBT
                          COLLECTION INDUSTRY.
           44.   I have been in private practice since 1984 when I was licensed as an

  attorney at law in New Jersey. In 2006, I began limiting my practice to the

  representation of the consumers with claims against debt collectors for violations

  of the Fair Debt Collection Practices Act.

           45.   Over the past fourteen years litigating cases with debt collectors, I

  have come to understand that ACA International, the Association of Credit and

  Collection Professionals, is the collection industry’s leading national organization.

           46.   According to its website, https://www.acainternational.org/about
                                                                            page 10 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 11 of 12 PageID: 1969




  (accessed March 2, 2020):

                  Founded in 1939, ACA brings together third-party
                  collection agencies, law firms, asset buying
                  companies, creditors and vendor affiliates,
                  representing more than 230,000 industry
                  employees. ACA establishes ethical standards,
                  produces a wide variety of products, services and
                  publications, and articulates the value of the credit
                  and collection industry to businesses, policymakers
                  and consumers.

        47.    Richard J. Perr, Esq. is a recent past president of ACA. He is a

  Philadelphia lawyer who regularly represents debt collectors in this Court and in

  the Third Circuit Court of Appeals. See, e.g., Hovermale v. Immediate Credit

  Recovery Inc., No. CV 15-5646 (RBK/JS), 2016 WL 4157160 (D.N.J. Aug. 4,

  2016); and Douglass v. Convergent Outsourcing, 765 F.3d 299 (3d Cir. 2014).

        48.    The ACA website has a searchable, publicly-accessible membership

  directory found at https://www.acainternational.org/search#memberdirectory

  (accessed March 2, 2020). I searched for company names which include the three

  letters “ARS”. The only company whose name begins with “ARS” is ARS

  National Services, Inc.

        49.    I note that Defendant’s Rule 30(b)(6) witness, David Friedlander,

  acknowledged knowing of ARS National. Exh. 1 (Friedlander Dep. 170:9).

  Furthermore, the Levins bankruptcy petition scheduled ARS National as a creditor

  of a credit card debt for $1,190. Exh. 7 (Petition at 23). I highlighted ARS


                                                                          page 11 of 12
Case 1:17-cv-00928-CPO-EAP Document 141 Filed 08/17/22 Page 12 of 12 PageID: 1970




  National’s name.

  In accordance with 28 U.S.C. §1746, I declare under penalty of perjury under the
  laws of the United States of America that the foregoing is true and correct.
                                                        s/Philip D. Stern
   Executed on: August 17, 2022                          Philip D. Stern




                                                                      page 12 of 12
